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  1   SAM S. LESLIE, CPA
      1130 South Flower Street
  2   Suite 312
      Los Angeles, CA 90015
  3   Telephone (323) 987-5780
      Facsimile (323) 987-5763
  4   Email: trustee@trusteeleslie.com

  5   Chapter 7 Trustee

  6

  7

  8                       UNITED STATES BANKRUPTCY COURT

  9                        CENTRAL DISTRICT OF CALIFORNIA

10                               LOS ANGELES DIVISION

11

12    In re                                ) Case No. 2:23-bk-15815-DS
                                           )        [Chapter 7]
13    ALEXANDER DEMOLITION AND             )
      HAULING, INC.,                       ) TRUSTEE’S APPLICATION TO
14                                         ) EMPLOY LEA ACCOUNTANCY, LLP
                                Debtor.    ) AS ACCOUNTANT; DECLARATIONS
15                                         ) OF SAM S. LESLIE AND MARIANNA
                                           ) FALCO IN SUPPORT THEREOF
16                                         )
                                           ) [No Hearing Unless Requested;
17                                         ) Local Bankruptcy Rule 2014-1]

18            Sam S. Leslie, the duly appointed, qualified and acting

19    Chapter 7 Trustee in the above-captioned case, respectfully

20    represents:

21            1.   Alexander Demolition and Hauling, Inc. (“Debtor”)

22    ("Debtor") filed for relief under Chapter 11 Subchapter V of the

23    United States Bankruptcy Code on September 7, 2023.            On March 20,

24    2024, Debtor filed a Motion to Convert Case from Chapter 11 to 7

25    (Docket No. 48) which was granted by Order entered March 21, 2024

26    (Docket No. 50).

27    ///

28    ///
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  1        2.    Sam S. Leslie (“Trustee”) was appointed as Chapter 7

  2   Trustee on March 27, 2024, and accepted such appointment

  3   thereafter.

  4        3.    Trustee requires an accountant to assist him in the

  5   accounting matters and tax preparation aspects of the administra-

  6   tion of this estate, to advise Trustee of any tax consequences

  7   derived from liquidation of estate assets and to assist in any

  8   other accounting or tax matters as may arise in connection with

  9   the administration of this estate.         Debtor is a corporation and

10    requires extra tax matters as described below such as filed

11    pre-petition tax returns, review for possible filing for the

12    Employer Retention Tax Credit refund, payroll tax and sales tax

13    filings and file as needed and, perform a preference review for

14    avoidance actions, which cannot be simply performed by a flat fee

15    tax preparer.

16         4.    For all the foregoing and all other necessary and

17    proper purposes, Trustee desires to retain LEA Accountancy, LLP

18    ("LEA"), in which he is a partner, as his accountant.               This

19    arrangement will enable Trustee to work closely with the assigned

20    accountant regarding the required services and, therefore,

21    Trustee believes the employment of LEA will result in lower fees

22    for these necessary professional services.          Thus, LEA’s employ-

23    ment is in the best interest of the estate and its creditors.

24    Trustee is requesting that the employment be effective as of

25    the date services were first requested, April 24, 2024. LEA’s

26    resume highlighting the qualifications of the professionals that

27    may work on this case is attached to the Declaration of Marianna

28    Falco as Exhibit A and incorporated herein by this reference.

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  1   LEA’s services, as are applicable in this case, may include:

  2              (a)    review the Debtor's prior accounting and tax

  3   records, the petition, schedules and the estate's documents

  4   related to its financial transactions;

  5              (b)    review and analysis of the estate's financial

  6   transactions to determine the appropriate (and most beneficial to

  7   the estate) treatment for tax purposes, including capital gains

  8   calculations, consideration of tax attributes inherited from the

  9   Debtor and other tax considerations;

10               (c)    assist the Trustee in the preparation and filing

11    of the estate's Federal and California fiduciary and required

12    income tax returns (which are attachments to the fiduciary

13    actions) to reflect the transactions of the estate and, if

14    necessary, any delinquent tax returns that may be required by

15    taxing authorities for the estate. Such delinquent tax returns

16    can be but not limited to income tax, sales tax, city, county or

17    similar tax filings;

18               (d)    preparation, as needed, of pre-petition tax

19    returns;

20               (e)    preparation, as needed, of estate payroll tax

21    filings and/or filings for the Employer Retention Tax Credit

22    refund;

23               (f)    communicate with taxing authorities on behalf of

24    the estate;

25               (g)    request the required tax clearance from the

26    Internal Revenue Service and state taxing authorities for the

27    estate's tax returns;

28    ///

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  1               (h)   provide litigation support, valuation, cash flow

  2   services and, if requested, expert witness services for the

  3   Trustee;

  4               (i)   preparation of monthly operating reports, as

  5   needed;

  6               (j)   securing of source documents including, but not

  7   limited to, bank records, general ledgers, insurance documents,

  8   books and records, including Quickbooks or similar accounting

  9   data; filed pre-petition tax returns and assets of the estate.

10    Such services may include site visit(s) to investigate and/or

11    securing of the site to preserve source documentation and/or

12    assets for the Trustee;

13                (k)   assisting in gather and organizing Debtor’s

14    documents in order to analyze and investigate avoidable transfers

15    made by the Debtor, including preferential and fraudulent

16    transfers; and

17                (l)   perform any other financial analysis, investiga-

18    tion, consulting general and/or forensic accounting services as

19    required by the Trustee. Address any other tax matters which may

20    be required or requested by the Trustee to properly administer

21    the estate and maintain tax compliance.

22         5.     Trustee proposes that LEA will be employed pursuant to

23    11 U.S.C. § 327(a) and seek compensation pursuant to 11 U.S.C.

24    § 330(a).   LEA will bill the estate on an hourly basis for its

25    services with reasonable fees to be approved by the Court after

26    proper notice and hearing.       The only source of payment of

27    compensation to LEA will be from the estate.           No retainer or

28    other payment has been made or is requested and, apart from this

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  1                         DECLARATION OF SAM S. LESLIE

  2         I, Sam S. Leslie, declare:

  3         1.   I am the duly appointed, qualified and acting Chapter

  4   7 Trustee for the estate of Alexander Demolition and Hauling,

  5   Inc. (“Debtor”) by virtue of my appointment on March 27, 2024,

  6   and   my acceptance of such appointment thereafter.

  7         2.   I have prepared the foregoing Application and the facts

  8   set forth therein are true and correct.          If called as a witness I

  9   could and would competently testify thereto.

10          3.   In my best judgment in my capacity as Chapter 7

11    Trustee, and for all the reasons set forth in the accompanying

12    Application which are incorporated herein by this reference, I

13    believe that I require an accountant to assist me with the

14    accounting and tax matters related to the administration of

15    this estate, to advise me of any tax consequences derived from

16    the liquidation of estate assets and to prepare the estate’s

17    required Federal and California corporate tax returns to reflect

18    the liquidation of its assets. Debtor is a corporation and

19    requires extra tax matters as described below such as filed

20    pre-petition tax returns, review for possible filing for the

21    Employer Retention Tax Credit refund, payroll tax and sales tax

22    filings and file as needed and, perform a preference review for

23    avoidance actions, which cannot be simply performed by a flat fee

24    tax preparer.

25          4.   I have selected LEA Accountancy, LLP ("LEA"), of which

26    I am a partner, to be my accountant for this estate.            This

27    arrangement will enable me to work closely with the assigned

28    accountant regarding the necessary services and, therefore, I

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  1   believe the employment of LEA will result in lower fees for

  2   these necessary professional services.         Thus, LEA’s employment

  3   is in the best interests of the estate and its creditors.              I

  4   am requesting that the employment be effective as of the date

  5   services were first requested, April 24, 2024.           (LEA’s resume

  6   highlighting the qualifications of the professionals that may

  7   work on this case is attached to the Declaration of Marianna

  8   Falco as Exhibit A and incorporated herein this reference.)

  9   LEA’s services, as are applicable in this case, may include:

10    filed pre-petition tax returns. Such servicing may include:

11               (a)    review the Debtor's prior accounting and tax

12    records, the petition, schedules and the estate's documents

13    related to its financial transactions;

14               (b)    review and analysis of the estate's financial

15    transactions to determine the appropriate (and most beneficial to

16    the estate) treatment for tax purposes, including capital gains

17    calculations, consideration of tax attributes inherited from the

18    Debtor and other tax considerations;

19               (c)    assist the Trustee in the preparation and filing

20    of the estate's Federal and California fiduciary and required

21    income tax returns (which are attachments to the fiduciary

22    actions) to reflect the transactions of the estate and, if

23    necessary, any delinquent tax returns that may be required by

24    taxing authorities for the estate. Such delinquent tax returns

25    can be but not limited to income tax, sales tax, city, county or

26    similar tax filings;

27               (d)    preparation, as needed, of pre-petition tax

28    returns;

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  1              (e)    preparation, as needed, of estate payroll tax

  2   filings and/or filings for the Employer Retention Tax Credit

  3   refund;

  4              (f)    communicate with taxing authorities on behalf of

  5   the estate;

  6

  7              (g)    request the required tax clearance from the

  8   Internal Revenue Service and state taxing authorities for the

  9   estate's tax returns;

10               (h)    provide litigation support, valuation, cash flow

11    services and, if requested, expert witness services for the

12    Trustee;

13               (i)    preparation of monthly operating reports, as

14    needed;

15               (j)    securing of source documents including, but not

16    limited to, bank records, general ledgers, insurance documents,

17    books and records, including Quickbooks or similar accounting

18    data; filed pre-petition tax returns and assets of the estate.

19    Such services may include site visit(s) to investigate and/or

20    securing of the site to preserve source documentation and/or

21    assets for the Trustee;

22               (k)    assisting in gather and organizing Debtor’s

23    documents in order to analyze and investigate avoidable transfers

24    made by the Debtor, including preferential and fraudulent

25    transfers; and

26               (l)    perform any other financial analysis, investiga-

27    tion, consulting general and/or forensic accounting services as

28    required by the Trustee. Address any other tax matters which may

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  1   be required or requested by the Trustee to properly administer

  2   the estate and maintain tax compliance.

  3         5.    I propose that LEA will be employed pursuant to 11

  4   U.S.C. § 327(a) and seek compensation pursuant to 11 U.S.C.

  5   § 330(a).   LEA will bill the estate on an hourly basis for its

  6   services with reasonable fees to be approved by the Court after

  7   proper notice and hearing.       The only source of payment of

  8   compensation to LEA will be from the estate.           No retainer or

  9   other payment has been made or is requested and, apart from the

10    Application and subsequent order, there will be no other written

11    or separate agreement for employment.         A schedule of the fees

12    customarily charged by LEA to all of its clients is attached to

13    the Declaration of Marianna Falco as Exhibit B and incorporated

14    herein by this reference. LEA reserves the right to change its

15    hourly rates from time to time in accordance with its usual terms

16    and conditions as communicated to me.

17          6.    To the best of my knowledge, and as set forth in

18    the Declaration of Marianna Falco, CPA, LEA, the approval of

19    whose employment is requested, is a "disinterested person" as

20    required by the Bankruptcy Code.        See also, the Statement of

21    Disinterestedness for Employment of Professional Person Under

22    F.R.B.P. 2014 which is attached to the Declaration of Marianna

23    Falco as Exhibit C and incorporated herein by this reference.

24          7.    I have provided interested parties with notice of the

25    Application as required by Local Bankruptcy Rule 2014-1(b)(2)(A).

26    A true and correct copy of such Notice is attached to the

27    ///

28    ///

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  1                        DECLARATION OF MARIANNA FALCO

  2        I, Marianna Falco, declare:

  3        1.    I am a certified public accountant and a senior tax

  4   manager and bankruptcy coordinator at LEA Accountancy, LLP

  5   ("LEA"), the firm that Sam S. Leslie, Chapter 7 Trustee

  6   (“Trustee”) for the estate of Alexander Demolition and Hauling,

  7   Inc., proposes to employ as accountant.          The Trustee and LEA are

  8   requesting that LEA’s employment be effective as of the date

  9   services were first requested, April 24, 2024.

10         2.    I have reviewed the file and discussed the case with

11    the Trustee and have determined that the professional services to

12    be provided to the estate may include the following:

13               (a)    review the Debtor's prior accounting and tax

14    records, the petition, schedules and the estate's documents

15    related to its financial transactions;

16               (b)    review and analysis of the estate's financial

17    transactions to determine the appropriate (and most beneficial to

18    the estate) treatment for tax purposes, including capital gains

19    calculations, consideration of tax attributes inherited from the

20    Debtor and other tax considerations;

21               (c)    assist the Trustee in the preparation and filing

22    of the estate's Federal and California fiduciary and required

23    income tax returns (which are attachments to the fiduciary

24    actions) to reflect the transactions of the estate and, if

25    necessary, any delinquent tax returns that may be required by

26    taxing authorities for the estate. Such delinquent tax returns

27    can be but not limited to income tax, sales tax, city, county or

28    similar tax filings;

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  1              (d)    preparation, as needed, of pre-petition tax

  2   returns;

  3              (e)    preparation, as needed, of estate payroll tax

  4   filings and/or filings for the Employer Retention Tax Credit

  5   refund;

  6              (f)    communicate with taxing authorities on behalf of

  7   the estate;

  8              (g)    request the required tax clearance from the

  9   Internal Revenue Service and state taxing authorities for the

10    estate's tax returns;

11               (h)    provide litigation support, valuation, cash flow

12    services and, if requested, expert witness services for the

13    Trustee;

14               (i)    preparation of monthly operating reports, as

15    needed;

16               (j)    securing of source documents including, but not

17    limited to, bank records, general ledgers, insurance documents,

18    books and records, including Quickbooks or similar accounting

19    data; filed pre-petition tax returns and assets of the estate.

20    Such services may include site visit(s) to investigate and/or

21    securing of the site to preserve source documentation and/or

22    assets for the Trustee;

23               (k)    assisting in gather and organizing Debtor’s

24    documents in order to analyze and investigate avoidable transfers

25    made by the Debtor, including preferential and fraudulent

26    transfers; and

27               (l)    perform any other financial analysis, investiga-

28    tion, consulting general and/or forensic accounting services as

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  1   required by the Trustee. Address any other tax matters which may

  2   be required or requested by the Trustee to properly administer

  3   the estate and maintain tax compliance.

  4         3.     LEA's resume highlighting the qualifications of the

  5   professionals that may work on this case is attached hereto as

  6   Exhibit A and incorporated herein by this reference.

  7         4.     A schedule of LEA’s fees regularly charged to all of

  8   its clients is attached hereto as Exhibit B and incorporated

  9   herein by this reference.       LEA reserves the right to change its

10    hourly rates from time to time in accordance with its usual terms

11    and conditions as communicated to Trustee.

12          5.     As set forth in the Statement of Disinterestedness for

13    Employment of Professional Person Under F.R.B.P. 2014 attached

14    hereto as Exhibit C and incorporated herein by this reference,

15    neither LEA nor I have an interest adverse to the estate or its

16    creditors, and are disinterested in the outcome of this case,

17    except that the LEA will exert its best efforts to assure the

18    highest and best results to the estate in connection with our

19    services.

20          6.     LEA is familiar with the Bankruptcy Code, the Bank-

21    ruptcy Rules, and the Local Bankruptcy Rules and shall comply

22    with them.

23          7.     Notice of the Application as required by Local Bank-

24    ruptcy Rule 2014-1(b)(2)(A), has been provided to interested

25    ///

26    ///

27    ///

28    ///

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                                EXHIBIT A
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LEA Accountancy, LLP
1130 S. Flower Street
Suite 312
Los Angeles, California 90015
T: 323-987-5780 F: 323-987-5763

LEA Accountancy’s professional staff is highly trained group of individuals who are dedicated in
providing bankruptcy trustees with excellent financial analysis and tax planning and preparation
services. With the expertise he has honed since 1983, Sam S. Leslie, Managing Partner, provides
both hands on services and supervises a staff that is experienced in federal and state tax law, the
bankruptcy code and their application to the bankruptcy estate. This experience assures the
trustee that the estate is tax compliant and results in lower costs for these necessary services.

Services Offered:
                                   Financial Analysis and Tax Planning
                                   Asset Analysis
                                   Federal, State Income and Payroll Returns
                                   Bankruptcy Estate Tax Filing
                                   Delinquent Returns
                                   Accounting Reconstruction
                                   Preference Review and Analysis
                                   ERISA Plan Termination
                                   State Board of Equalization Sales Tax

Client Base:                      Bankruptcy Trustees, Partnerships, Sub-Chapter S
                                  Corporations, Limited Liability Companies, other closely
                                  held businesses and high net worth individuals.


                                           Bankruptcy



After practicing for 8 years, LEA Accountancy diversified to provide tax and accounting services
to bankruptcy trustees. LEA Accountancy is well-versed in the peculiarities of the Internal
Revenue Code and its application to Chapter 7 and Chapter 11 proceedings. The firm’s extensive
knowledge of bankruptcy estate tax filing requirements and related procedures assure trustees of
a "prompt" determination from the IRS. LEA Accountancy provides specialized attention to
indentifying potential federal and state tax refunds, net operating loss carryforwards and/or
carrybacks, tax basis issues and asset recovery. This focus assists the trustee in maximizing
recovery of monies to the bankruptcy estate while at all times focusing on the estate closing
process.
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With LEA trustees rely on a team of seasoned professionals who address in detail each and every
compliance and tax preparation concerns. LEA’s advice includes analyzing the complexities of
payroll tax and sales tax issues, as well as pre-petition delinquent returns. Boxes of “meaningless
paper” are organized into financial statements that often result in recoverable assets that may not
have been disclosed in the bankruptcy petition and schedules. In short, LEA strives to ensure
that the best possible results are achieved for the bankruptcy estate with the least amount of
complication for the trustee.

LEA staff members possess a broad array of accounting experience that allows them to address
complex corporate, partnership and limited liability company tax issues, as well as consolidated
multi-state returns and layered partnerships.

                                       Professional Staff


Marianna Falco, CPA, CFE
Tax Manager and Bankruptcy Coordinator

Ms. Falco has been associated with LEA Accountancy since 2017. Prior to joining LEA
Accountancy, Ms. Falco was a Tax & Compliance Manager for an International Medical Device
organization. She has focused her tax work on compliance, international and cross border tax
issues. She has been a practicing Fraud Examiner for 10 years conducting fraud examinations
for Home Owners Associations and Partnerships.

Ms. Falco has a B.S. in Business Management and an MBA with a special emphasis in
Accountancy.



Terry Fussell, CPA
Senior Tax Specialist

Mr. Fussell joined the professional staff of LEA Accountancy in 2004 and manages a client base
consisting of insolvency, high net-worth individuals and their closely held businesses. Prior to
joining LEA, he worked as a Senior Accountant at Martin Werbelow, LLP, and a Pasadena,
California public accounting firm concentrating on estate and gift tax clients. During a twenty-
year career based on providing tax as well as business advisory services, Mr. Fussell has served
as CFO/sat on the board of directors at Nutripeak.com, Inc., a Los Angeles based sports nutrition
retailer and was CFO at JLS Technology Staffing Inc in Atlanta, Georgia. Mr. Fussell launched
his career in 1991 as Senior Associate/Controller at Frazier & Deeter, LLC, one of Atlanta’s top
five CPA firms.

In addition to working with LEA Accountancy, in 2010 Mr. Fussell formed The Fussell Group, LLC,
a business advisory firm.
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Mr. Fussell graduated from Georgia State University (Atlanta, Georgia) with a Bachelor of Science
in Finance in 1990.


Thomas A. Engell, CPA, MST
Special Projects Consultant

Mr. Engell joined the professional staff of LEA Accountancy in 2000 and is currently working as a
Special Projects Consultant. During his 27-year career in accounting and financial services, Mr.
Engell acquired work experience both in the United States and Canada. In 1990, he founded
Engell & Associates, CGA, a full-service accounting firm located in Ontario, Canada. He
launched his career in 1984 as a Senior Accountant at Brownlow, Thompson & McKay, and CGA.

In addition, Mr. Engell is a co-author of AccPac, a computer-applied accounting software. He has
been a member of the board of directors of several Canadian-based financial and insurance
companies, was an Accounting, Taxation and Finance professor at Fanshawe College
(Woodstock,

Ontario), has served as a business advisor to local government, and was partner and active in as
in the management of the print magazine with Mr. Leslie.

In addition to working with LEA Accountancy, in 2011 Mr. Engell formed The Rocher Group, LLC,
a business advisory firm.

Mr. Engell graduated from Mohawk College (Ontario, Canada) in 1984, Accountancy Department.
Mr. Engell has received his Masters in Taxation from Taft University.


Thomas Ballou
Partner, Business Manager

Mr. Ballou joined LEA Accountancy in 1983 and is responsible for the oversight of all aspects of
business management and operations. Prior to joining the firm, he held professional service
positions at Liberty Securities and Pharmavite Manufacturers, both located in Los Angeles,
California.

Mr. Ballou graduated with a B.S. in Computer Science from Coleman College, San Diego in 1983.

Aaron Robson
Senior Accountant

Mr. Robson joined the professional staff at LEA Accountancy’s predecessor, Leslie Accountancy,
in 1997 as a staff accountant. In 2011 Mr. Robson joined the staff of The Rocher Group as an
Accountant, Operations and Client Relationships Manager. In 2017 he has returned to the fold
of LEA Accountancy as a Senior Accountant. With two decades of experience in the accounting
field his primary services have included forensic accounting, income tax preparation and
QuickBooks management.
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Mr. Robson graduated with a B.S. in Business Administration with an Emphasis in Accounting
and Finance from the University of Colorado, Boulder in 1992

Lori J. Ensley
Forensic Accountant & Special Projects Manager

Ms. Ensley’s experience includes nine years of accounting experience as a staff accountant, cost
analyst, and controller for various companies; three years as director of operations for a
manufacturing and advertising firm; and twenty-two years as a financial/turnaround management
consultant with Robert F. Bicher & Associates. Ms. Ensley has overseen a variety of business
operations including, but not limited to, manufacturing, retail, medical practices, advertising, real
estate, mortgage, and service businesses. In addition, Ms. Ensley has assisted numerous
Chapter 11 Debtors with United States Trustee Compliance Requirements and provided agent
services for Chapter 11 and 7 Trustees in Southern California.

Ms. Ensley graduated from the University of California Los Angeles in 1983 with a Bachelor of
Arts in English and minor in Economics.

Robert F. Bicher, III
Forensic Accountant & Special Projects Manager

Mr. Bicher’s experience includes three years as a financial consultant for investment management
firms; five years as a full-time faculty member at California State University San Bernardino,
teaching graduate and undergraduate finance and marketing; four years with the Office of the
United States Trustee as Senior Bankruptcy Analyst, administering over 3,000 Chapter 11 cases;
and twenty-five years performing financial consulting and turnaround management as Interim
CEO/President, Liquidating Agent, Disbursing Agent, Claims Agent/Administrator and Court
ordered Examiner for financially distressed companies, Trustees, Receivers, and Chapter 11
Debtors. Mr. Bicher has directly managed and controlled various types of operations including,
but not limited to, manufacturing, retail, medical practices, advertising, real estate, mortgage, and
service businesses.

Mr. Bicher graduated Phi Beta Kappa with High Honors in 1975 from the University of California
Riverside with a Bachelor of Science of Administrative Sciences, specializing in finance and
accounting, and from the Graduate School of Administration (now known as the Graduate School
of Management) of the University of California Riverside in 1978 with a Masters of Administration
in Business Administration, specializing in finance

Austin P. Martin, CFE
Bankruptcy Accountant

Mr. Martin’s professional experience includes three years as an accountant and accounting
manager primarily performing audits and compilations, as well as financial statement and income
tax preparation for a wide range of business entities with a focus on non-profit and exempt
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organizations. Additionally, Mr. Martin has three years of experience assisting with forensic
accounting analysis and several years of experience with small business/nonprofit organization
and management.

Mr. Martin graduated with a B.S. in Business Administration with an Emphasis in Accounting from
the University of Arizona, Eller College of Management in May, 2018.




When you select LEA Accountancy, LLP as your Certified Public
Accountants, you partner with an organization dedicated to operating
at the highest level of professionalism; a firm that takes great pride in
providing the best in customer service.
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                                EXHIBIT B
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                                LEA Accountancy, LLP
                              Professional Rate Summary

        Professional                                            2024 Rate

  MARIANNA FALCO                                                $ 430.00
  Tax Manager & Bankruptcy Coordinator

  TERRY R. FUSSELL                                              $ 395.00
  Senior Tax Specialist

  THOMAS A. ENGELL                                              $ 385.00
  Senior Bankruptcy Accountant

  THOMAS G. BALLOU                                              $ 295.00
  Partner, Business Manager

  AARON ROBSON                                                  $ 235.00
  Senior Accountant

  LORI J. ENSLEY                                                $ 235.00
  Forensic Accountant & Special Projects Manager

  ROBERT F. BICHER, III                                         $ 215.00
  Forensic Accountant & Special Projects Manager

  AUSTIN MARTIN                                                 $ 245.00
  Bankruptcy Accountant
Case 2:23-bk-15815-DS   Doc 63 Filed 05/03/24 Entered 05/03/24 10:19:35   Desc
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                                EXHIBIT C
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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Marianna Falco, CPA
 LEA Accountancy, LLP
 1130 South Flower Street
 Suite 312
 Los Angeles, CA 90015
 Telephone: 323/987-5780
 Facsimile: 323/987-5763
 Email: mfalco@leaaccountancy.com


 Proposed Accountant for Sam S. Leslie,
 Chapter 7 Trustee

 Attorney for:

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 In re:                                                                      CASE NO.: 2:23-bk-15815-DS
                                                                             CHAPTER: 7
          ALEXANDER DEMOLITION AND HAULING, INC.,


                                                                                  STATEMENT OF DISINTERESTEDNESS
                                                                                  FOR EMPLOYMENT OF PROFESSIONAL
                                                                                       PERSON UNDER FRBP 2014
                                                                                   (File with Application for Employment)



                                                                                                     [No Hearing Required]
                                                             Debtor(s).

1. Name, address and telephone number of the professional (Professional) submitting this Statement:
   Marianna Falco, CPA (Email: mfalco@leaaccountancy.com)
   LEA Accountancy, LLP
   1130 South Flower Street, Suite 312, Los Angeles, CA 90015
   Telephone: 323/987-5780; Facsimile: 323/987-5763

2. The services to be rendered by the Professional in this case are (specify): 7RUHYLHZWKH'HEWRU VSULRUDFFRXQWLQJDQGWD[
   UHFRUGVWKHSHWLWLRQDQGVFKHGXOHVDQGHVWDWH VILQDQFHVWRGHWHUPLQHDSSURSULDWHWUHDWPHQWIRUWD[SXUSRVHV7R
   SUHSDUHDQGILOHDOOQHFHVVDU\WD[UHWXUQV7RFRPPXQLFDWHZLWKWD[LQJDXWKRULWLHVDQGSHUIRUPDQGRWKHUDFFRXQWLQJDQG
   WD[VHUYLFHVUHTXLUHGE\WKH7UXVWHH$GGLWLRQDOVHUYLFHVDUHGHVFULEHGLQWKH$SSOLFDWLRQZKLFKDUHLQFRUSRUDWHGKHUHLQE\
   WKLVUHIHUHQFH
3. The terms and source of the proposed compensation and reimbursement of the Professional are (specify):
   The requested compensation for professional services rendered to the estate shall be based upon the time expended
   and at the billing rates commensurate with the experience of the professional performing the services computed at
   the hourly rates charged by LEA to all clients.



            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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4. The nature and terms of retainer (i.e., nonrefundable versus an advance against fees) held by the Professional are
   (specify):
   No retainer has been received or is requested.



5. The investigation of disinterestedness made by the Professional prior to submitting this Statement consisted of
   (specify):
   I directed a conflicts check to be performed to determine whether LEA represents a party holding a claim or other
   adverse interest against the Debtor and whether LEA was disinterested or not. Based on our investigation, I
   determined that no potential or actual conflicts of interest exist. Thus, based upon these conflicts checks, I have
   determined that LEA does not represent any party or person holding a claim or adverse interest against the Debtor,
   and I have therefore concluded that LEA is "disinterested" as that term is defined in 11 U.S.C. § 101(14).


6. The following is a complete description of all of the Professional’s connections with the Debtor, principals of the
   Debtor, insiders, the Debtor’s creditors, any other party or parties in interest, and their respective attorneys and
   accountants, the United States trustee, or any person employed in the office of the United States trustee (specify,
   attaching extra pages as necessary):
   N/A.



7. The Professional is not a creditor, an equity security holder or an insider of the Debtor, except as follows (specify,
   attaching extra pages as necessary):
   N/A.



8. The Professional is not and was not, within 2 years before the date of the filing of the petition, a director, officer or
   employee of the Debtor.


9. The Professional does not have an interest materially adverse to the interest of the estate or of any class of creditors
   or equity security holders, by reason of any direct or indirect relationship to, connection with, or interest in, the Debtor,
   or for any other reason, except as follows (specify, attaching extra pages as necessary):
   N/A.


10. Name, address and telephone number of the person signing this Statement on behalf of the Professional and the
    relationship of such person to the Professional (specify):
    Marianna Falco, CPA - Tax Manager and Bankruptcy Coordinator. (See No.1 for Address/Telephone.)




           This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                EXHIBIT D
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  1   SAM S. LESLIE, CPA
      1130 South Flower Street
  2   Suite 312
      Los Angeles, CA 90015
  3   Telephone (323) 987-5780
      Facsimile (323) 987-5763
  4   Email: trustee@trusteeleslie.com

  5   Chapter 7 Trustee

  6

  7                       UNITED STATES BANKRUPTCY COURT

  8                        CENTRAL DISTRICT OF CALIFORNIA

  9                              LOS ANGELES DIVISION

10

11    In re                                ) Case No. 2:23-bk-15815-DS
                                           )        [Chapter 7]
12    ALEXANDER DEMOLITION AND             )
      HAULING, INC.,                       ) NOTICE OF TRUSTEE’S APPLICATION
13                                         ) TO EMPLOY LEA ACCOUNTANCY, LLP
                                Debtor.    ) AS ACCOUNTANT
14                                         )
                                           ) [No Hearing Unless Requested;
15                                         ) Local Bankruptcy Rule 2014-1]

16

17    TO THE HONORABLE DEBORAH J. SALTZMAN, UNITED STATES BANKRUPTCY

18    JUDGE, THE UNITED STATES TRUSTEE, DEBTOR, ALL CREDITORS AND OTHER

19    INTERESTED PARTIES:

20            PLEASE TAKE NOTICE that Sam S. Leslie, the duly appointed,

21    qualified and acting Chapter 7 Trustee (“Trustee”) in the above-

22    captioned case, has filed an application seeking authority to

23    employ LEA Accountancy, LLP ("LEA"), in which he is a partner, as

24    his accountant.     Trustee is requesting that LEA’s employment be

25    effective as of the date services were first requested, April 24,

26    2024.    LEA is to be employed for the express purpose of assisting

27    Trustee in the accounting matters and tax preparation aspects of

28    the administration of this estate, to advise Trustee of any tax
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  1   consequences derived from liquidation of estate assets and to

  2   assist in any other accounting or tax matters as may arise in

  3   connection with the administration of this estate.            LEA’s

  4   services, as are applicable in this case, may include:

  5              (a)    review the Debtor's prior accounting and tax

  6   records, the petition, schedules and the estate's documents

  7   related to its financial transactions;

  8              (b)    review and analysis of the estate's financial

  9   transactions to determine the appropriate (and most beneficial to

10    the estate) treatment for tax purposes, including capital gains

11    calculations, consideration of tax attributes inherited from the

12    Debtor and other tax considerations;

13               (c)    assist the Trustee in the preparation and filing

14    of the estate's Federal and California fiduciary and required

15    income tax returns (which are attachments to the fiduciary

16    actions) to reflect the transactions of the estate and, if

17    necessary, any delinquent tax returns that may be required by

18    taxing authorities for the estate. Such delinquent tax returns

19    can be but not limited to income tax, sales tax, city, county or

20    similar tax filings;

21               (d)    preparation, as needed, of pre-petition tax

22    returns;

23               (e)    preparation, as needed, of estate payroll tax

24    filings and/or filings for the Employer Retention Tax Credit

25    refund;

26               (f)    communicate with taxing authorities on behalf of

27    the estate;

28    ///

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  1              (g)    request the required tax clearance from the

  2   Internal Revenue Service and state taxing authorities for the

  3   estate's tax returns;

  4              (h)    provide litigation support, valuation, cash flow

  5   services and, if requested, expert witness services for the

  6   Trustee;

  7              (i)    preparation of monthly operating reports, as

  8   needed;

  9              (j)    securing of source documents including, but not

10    limited to, bank records, general ledgers, insurance documents,

11    books and records, including Quickbooks or similar accounting

12    data; filed pre-petition tax returns and assets of the estate.

13    Such services may include site visit(s) to investigate and/or

14    securing of the site to preserve source documentation and/or

15    assets for the Trustee;

16               (k)    assisting in gather and organizing Debtor’s

17    documents in order to analyze and investigate avoidable transfers

18    made by the Debtor, including preferential and fraudulent

19    transfers; and

20               (l)    perform any other financial analysis, investiga-

21    tion, consulting general and/or forensic accounting services as

22    required by the Trustee. Address any other tax matters which may

23    be required or requested by the Trustee to properly administer

24    the estate and maintain tax compliance.

25         Trustee proposes that LEA be employed pursuant to 11 U.S.C.

26    § 327(a) and compensated pursuant to 11 U.S.C. § 330(a) on an

27    hourly basis with reasonable fees to be approved by application

28    to the Court after proper notice and hearing.           The only source

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  1   of payment of compensation to LEA will be from the estate.                 No

  2   retainer or other payment has been made or is requested and,

  3   apart from this Application and subsequent order, there will

  4   be no other written or separate agreement for employment.              (LEA

  5   is aware that the estate presently has no funds on hand and has

  6   agreed to provide the requested services fully aware of the

  7   inherent risk that there may be no funds with which to compensate

  8   it for its services.)      A schedule of the fees customarily charged

  9   by LEA to all of its clients is attached hereto as Exhibit 1 and

10    incorporated herein by this reference.         LEA reserves the right to

11    change its hourly rates from time to time in accordance with its

12    usual terms and conditions as communicated to Trustee. No time

13    will be billed by LEA for Trustee’s services.

14         A copy of the Trustee's Application can be obtained from:

15                      Sam S. Leslie, Chapter 7 Trustee
                        1130 South Flower Street
16                      Suite 312
                        Los Angeles, California 90015
17

18         PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy

19    Rule (“LBR”) 9013-1(o), the deadline to file and serve a written

20    response and request for a hearing is fourteen (14) days after

21    the date of service of the notice of motion, plus three (3)

22    additional days if served by mail, or pursuant to F.R.Civ.P.

23    5(b)(2)(D) or (F).      Any opposition or response must be filed

24    with the United States Bankruptcy Court (255 East Temple Street,

25    Room 100 (on the Terrace Level of the Edward R. Roybal Federal

26    Building and U.S. Courthouse), Los Angeles, CA 90012), and served

27    upon (i) Trustee at the address in the upper left hand corner of

28    the first page of this Notice, (ii) LEA Accountancy, LLP, Attn:

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   1   Marianna Falco, 1130 South Flower Street, Suite 312, Los Angeles,

   2   CA 90015 and (iii) the Office of the United States Trustee, 915

   3   Wilshire Blvd., Suite 1850, Los Angeles, CA 90017.
   4        PLEASE TAKE FURTHER NOTICE that pursuant to LBR 9013-l(h)

   5   any objection not timely filed and served may be deemed by the

   6   Court to be consent to the relief requested and may result in the

       Court's issuance of an order without further no             o   hearin
                                                                             t.
   7

   8                                                         ts

   9   Date: May /� 2024
                                                 m S. Leslie, Chapter 7 Trustee
  10

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  27
  28   Service Date: May     3 , 2024

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                                LEA Accountancy, LLP
                              Professional Rate Summary

        Professional                                            2024 Rate

  MARIANNA FALCO                                                $ 430.00
  Tax Manager & Bankruptcy Coordinator

  TERRY R. FUSSELL                                              $ 395.00
  Senior Tax Specialist

  THOMAS A. ENGELL                                              $ 385.00
  Senior Bankruptcy Accountant

  THOMAS G. BALLOU                                              $ 295.00
  Partner, Business Manager

  AARON ROBSON                                                  $ 235.00
  Senior Accountant

  LORI J. ENSLEY                                                $ 235.00
  Forensic Accountant & Special Projects Manager

  ROBERT F. BICHER, III                                         $ 215.00
  Forensic Accountant & Special Projects Manager

  AUSTIN MARTIN                                                 $ 245.00
  Bankruptcy Accountant
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Label Matrix for local noticing         Alexander
                                        Main      Demolition and Hauling,
                                               Document           Page 36 Inc.of 38 California Dept. of Tax and Fee Administrati
0973-2                                  1433 W 139th St.                                Collections Support Bureau, MIC: 55
Case 2:23-bk-15815-DS                   Gardena, CA 90249-2601                          PO Box 942879
Central District of California                                                          Sacramento, CA 94279-0055
Los Angeles
Fri May 3 07:48:34 PDT 2024
Orantes Law Firm, P.C.                  Orantes Law Firm, P.C.                          Los Angeles Division
3435 Wilshire Blvd., 27th floor         The Orantes Law Firm, P.C.                      255 East Temple Street,
Los Angeles, CA 90010-1901              3435 Wilshire Blvd., 27th Floor                 Los Angeles, CA 90012-3332
                                        Los Angeles, CA 90010-1901


Abraham Lopez                           Baltazar Martinez                               Baltazar Martinez
C/o Cummings & Franck, P.C              C/o Health Link MGT Studio City                 C/o Injury and Consumer Law
1025 W 190th ST., Suite 200             3940 Laurel Canyon Blvd.                        1820 E 1st St., Suite 200
Gardena, CA 90248-4343                  PMB 945                                         Santa Ana CA 92705-4026
                                        Studio City CA 91604-3709

Baltazar Martinez                       CR Rodas                                        CWS
C/o Richard A Cherry, Esq.              Attn: President or Corp. Officer                Attn: President or Corp. Officer
3055 Wilshire Blvd., Suite 820          Po Box 1774                                     621 W 162nd St.
Los Angeles, CA 90010-1137              Sun Valley, CA 91353-1774                       Gardena, CA 90247


California Department of Tax & Fee      California Dept. of Tax and Fee Administrati    Cellco Partnership d/b/a Verizon Wireless
Administration/Special Ops, MIC:55      Collection Support Bureau, MIC: 55              William M Vermette
Po Box 942879                           PO Box 942879                                   22001 Loudoun County PKWY
Sacramento, CA 94279-0055               Sacramento, CA 94279-0055                       Ashburn, VA 20147-6122


Employment Development Department       FRANCHISE TAX BOARD                             Felipe D. Davila
Bankruptcy Group MIC 92E                BANKRUPTCY SECTION MS A340                      1433 W 139th St.
Po Box 826880                           PO BOX 2952                                     Gardena, CA 90249-2601
Sacramento, CA 94280-0001               SACRAMENTO CA 95812-2952


Ford Credit                             (p)FORD MOTOR CREDIT COMPANY                    Franchise Tax Board
Attn: President or Corp. Officer        P O BOX 62180                                   Bankruptcy Section, MS: A-340
Po Box 552679                           COLORADO SPRINGS CO 80962-2180                  Po Box 2952
Detroit, MI 48255-2679                                                                  Sacramento, CA 95812-2952


Gerardo Ochoa                           Internal Revenue Service                        James River Insurance Company
C/o Law Offices of Ramin Younessi       Po Box 7346                                     PO Box 27648
3435 Wilshire Blvd., Suite 2200         Philadelphia, PA 19101-7346                     Richmond VA 23261-7648
Los Angeles, CA 90010-2008


Luis Valencia                           Southern California Edison Co.                  Southern California Edison Co.
10900 E 183rd St.                       Attn: President or Corp. Officer                C/o Levy Nazila, Esq.
Cerritos, CA 90703-5342                 2244 Walnut Gove Ave.                           9454 Wilshire Blvd.
                                        Rosemead, CA 91770-3714                         Beverly Hills, CA 90212-2931


United States Attorney s Office         United States Department of Justice             United States Trustee (LA)
Federal Building, Room 7516             Ben Franklin Station                            915 Wilshire Blvd, Suite 1850
300 North Los Angeles Street            Po Box 683                                      Los Angeles, CA 90017-3560
Los Angeles, CA 90012-3336              Washington, DC 20044-0683
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Wilshire Commercial Capital                         Peter MDocument
                                                    Main    Lively   Page 37 of 38     Sam S Leslie (TR)
Resurgent Capital Services                           The Law Offices of Peter M Lively                    1130 South Flower Street
PO Box 3427                                          11268 Washington Blvd Ste 203                        Suite 312
Greenville, SC 29602-3427                            Culver City, CA 90230-4647                           Los Angeles, CA 90015-2143




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Ford Motor Credit Company LLC                        End of Label Matrix
Dept. 55953                                          Mailable recipients    32
P.O. Box 5500                                        Bypassed recipients     0
Detroit, MI 48255                                    Total                  32
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